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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF MICHIGAN
SOUTHERN DIVISION

AMERICAN UNIVERSITY OF ANTIGUA COLLEGE
OF MEDICINE, a foreign corporation,

Plaintiff,
United States District Court Judge
Patrick J. Duggan, presiding
Michael Hluchaniuk, referral
Vv Case No.: 2:10-cv-10978

STEVEN L. WOODWARD,

 

 

Defendant.
Eric A. Buikema (P58379) STEVEN L. WOODWARD
CARDELLI, LANFEAR & BUIKEMA, P.C. | In Pro Per
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PLAINTIFF’S REPLY IN SUPPORT OF MOTION FOR SECURITY FOR COSTS
(Docket No. 140) AND MOTION FOR SANCTIONS (Docket No. 141)

Plaintiff American University of Antigua College of Medicine (“AUA”) states its Reply
in Support of its Motion for Security for Costs (Docket No. 140) and Motion for Sanctions

(Docket No. 141) as follows:

1. Defendant’s response to the Motion for Security for Costs (Docket No. 150) fails
to assert any grounds for the Court to deny such a motion.
2. Instead it focuses on Plaintiff's alleged discovery abuses and does not apparently

contest that a security for costs is appropriate.
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3. As such, Defendant has conceded the motion and the Court should grant
Plaintiff's Motion (Docket No. 140) and order that a security bond be posted.

4. Similarly, Defendant’s response to the Motion for Sanctions for Failure to
Comply with Court Order Compelling Discovery (Docket No. 150) fails to adequately

5. Instead, Defendant responds with a near verbatim recitation of the screed of
alleged discovery abuses he filed at Docket No. 150.

6. Nowhere in his filing does he assert that his discovery responses are adequate or
“full and complete.”

7. Instead, he conflates the duces tecum document production associated with his
deposition with the request for production of documents that the Court ordered.

8. Defendant did not “organize and label” the documents to correspond to the
categories in Plaintiff's requests, in violation of Fed. R. Civ. P. 34(b)(2)(E)(i).

9. Instead he produced a banker’s box of items of dubious relevance (e.g.
community college certificates from the 1990s, etc.).

10. Defendant has not complied with the letter or sprit of Fed. R. Civ. P. 34 and an
order of sanctions is appropriate.

11, Similarly, he fails to assert that his interrogatory responses are “full and
complete.”

12. Instead, he seemingly relies on the fact that he could have been asked questions

about the interrogatory responses at his deposition and that this somehow excuses his obligation

to provide responses.
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13. This is a flawed premise. As an initial matter, Plaintiff's counsel was not served
with Defendant’s interrogatory responses until moments before his deposition began and had no
opportunity to review the same.

14. Similarly, Defendant did not include in his responses the interrogatory questions
themselves. (See Docket No. 141-4 and 141-5). Plaintiff's counsel did not have a copy of these
questions. Without the questions, no meaningful articulation of the sufficiency of Plaintiff's
answers could be determined.

15. Regardless, the opportunity to ask questions is irrelevant as to his duties to
provide “full and complete” discovery responses.

16. The Court can determine from Defendant’s responses (Docket No. 141-4) that
they are far from “full and complete” and arise to a sanctionable level in light of Defendant being
advised on a number of occasions that he needed to participate in discovery in good faith. He
has failed to do so and sanctions are appropriate.

Wherefore Plaintiff respectfully requests that the Court grant its Motion for Security for
Costs (Docket No. 140) and Motion for Sanctions (Docket No. 141).

Respectfully submitted,

/s/_Eric A. Buikema (P58379)
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Dated: May 17, 2011
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CERTIFICATE OF SERVICE
The undersigned certifies that the foregoing Plaintiff's Reply in Support of Motion for
security for Costs (Docket No. 140) and Motion for Sanctions (Docket No. 141) and this
Certificate of Service were served upon Steven L. Woodward, Defendant, via his email address

Steve_L_woodward@yahoo.com and First Class U.S. mail to Steven Woodward, c/o 7211

Brittwood Lane, Flint, MI 48507 on May 17, 2011.

/s/ Eric A. Buikema

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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF MICHIGAN - SOUTHERN DIVISION

AMERICAN UNIVERSITY OF ANTIGUA COLLEGE

OF MEDICINE, a foreign corporation,

Plaintiff,

Vv
STEVEN L. WOODWARD,

Defendant.

United States District Court Judge
Patrick J. Duggan, presiding
Michael Hluchaniuk, referral
Case No.: 2:10-cv-10978

 

 

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BRIEF IN SUPPORT OF PLAINTIFF’S REPLY IN SUPPORT OF MOTION FOR
SECURITY FOR COSTS (Docket No. 140) AND MOTION FOR SANCTIONS (Docket

No. 141)

Plaintiff relies on its prior motions (Docket Nos. 140 and 141), the authority set forth

therein and the sound discretion of this Honorable Court.

Dated: May 17, 2011

Respectfully submitted,

/s/ Eric A. Buikema (P58379)
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